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UNlTED STATES OF AMERICA,
Plaintiff,

VS.
CR. NO. 05-20137-B

W|LL|AN| THOMAS POWELL,

Defendant.

 

ORDEH ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29, 2005l at 9:30 a.m., in Courtroom 'i . 11th F|oorot the
Federal Building, Nlemphis, TN.

 

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need fora speedy trial.
{¢S"~

lT |S SO ORDERED this day Of , 2005.

 

J. o NlEi_ BREEN \
UN| ED STATES D|STF{|CT JUDGE
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This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20137 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

